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                      FLYNN KEY EVENT TIMELINE

Date          Event
07/19/2016    Lisa Page texts Peter Strzok “Donald Trump is an enormous d*uche”
              Trump accepts the GOP nomination (General Flynn joined the Trump
07/21/2016    Campaign sometime in 2015)
              Lisa Page texts Peter Strzok: “I can’t imagine either one of you could
              talk about anything in detail meaningful enough to warrant recusal,”
              referring to Judge Contreras. Peter Strzok replies: “Really? Rudy, I’m in
              charge of espionage for the FBI. Any espionage FISA comes before
07/25/2016    him, what should he do? Given his friend oversees them?”
              John Carlin announced his resignation on 9/27/2016 - Formally left the
10/15/2016    NSD on 10/15/2016
10/20/2016    Strzok texts “…Trump is a fucking idiot…”
              Trump Election Day; Gen. Flynn publishes op-ed in The Hill about
11/8/2016     Gulen
              President-elect Trump names Michael Flynn as his National Security
11/17/2016    Advisor
11/30/2016    DOJ issues FARA to Flynn
12/22/2016    Flynn calls multiple countries re: UN Action
12/29/2017    Flynn returns call from Kislyak in DR
01/10/2017    Passing the Baton Ceremony
Jan/2017      DOJ/FBI know no basis to prosecute Flynn for Logan Act
              David Ignatius -- Washington Post: "According to a senior U.S.
              government official, Flynn phoned Russian Ambassador Sergey
              Kislyak several times on Dec. 29, the day the Obama administration
01/12/2017    announced the expulsion of 35 Russian officials. . . . "
              General Flynn is sworn in as National Security Advisor. The Wall
              Street Journal reports that US counterintelligence agents have been
01/22/2017    investigating Flynn’s communications with Russian officials
              WP reports, “There was no active investigation on Flynn & no evidence of
01/23/2017    wrong doing U.S. officials said.”
              Lisa Page texts Peter Strzok: “I can feel my heart beating harder, I’m
              so stressed about all the ways THIS has the potential to go fully off the
01/23/2017    rails.”
              Multiple FBI executives meet to plan/strategize interview of Flynn so
01/23/2017    as not to alert him to investigation and to keep him “relaxed”
01/24/2017    FBI Agents interview Flynn; report to multiple people they believed Flynn
              Peter Strzok texts Lisa Page: “Describe the feeling, nervousness,
              excitement knowing we had just heard him denying it all, knowing we’d
              have to pivot into asking. Puzzle round and round about it. Talk about the
              funny details. Remember what I said that made Andy laugh and ask if he
01/24/2017    really said that.”


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              DOJ has internal memo--still not produced--that clears Flynn of being an
01/30/2017    "agent of Russia."
02/13/2017    Gen. Flynn resigns as National Security Advisor
              DOJ FARA division David Laufman calls Covington to pressure
02/13/2017    FARA filing
              Comey meets with Trump who "hopes" he will “let the Flynn thing go.”
              Comey writes memo with obstruction claim.
              Strzok-Page text: “Also, is Andy good with F 302?”
02/14/2017    Strzok-Page text "Launch on f 302”
02/15/2017    McCabe approves Flynn 302
03/07/2017    Covington files FARA Registration
              First reports allege Flynn relationship with Svetlana Lokhova -
03/31/2017    instigated by Stefan Halper
              The Department of Justice issues subpoena on Flynn Intel Group Inc.
04/05/2017    re: FARA registration
05/09/2017    President Trump fires James Comey
              Page/Strzok text: “And we need to open the case we have been waiting
05/09/2017    on now while Andy is acting.”
05/10/2017    McCabe opens obstruction investigation on President Trump
05/10/2017    Senate Intel Committee Subpoenas Flynn
              Page/Strzok Text: “We need to lock in [redacted]. In a formal
05/10/2017    chargeable way. Soon.”
              Mary McCord - Acting Assistant Attorney General - DOJ’s National
05/11/2017    Security Division leaves DOJ
05/16/2017    NYT Publishes story based on Comey’s leaked memo
05/17/2017    Robert Mueller named Special Counsel
              Covington receives 2 subpoenas from SSCI to FIG Inc., FIG LLC, and
5/23/2017     a narrow subpoena to Gen. Flynn
              Covington receives 2 subpoenas from HPSCI to Gen. Flynn and FIG
5/31/2017     LLC dated 5/25/2017
              Lisa Page leaves Special Counsel and DOJ. IG notifies Mueller of text
Mid June      messages.
07/26/2017    FBI raids Manafort's home; searches his wife in bed at gunpoint
07/27/2017    Peter Strzok demoted
07/28/2017    The Department of Justice collects Gen. Flynn's phone and computer
10/20/2017    Rosenstein Authorizes Mueller to Target Michael Flynn Jr.
11/16/2017    General Flynn interviews with the SCO
11/17/2017    General Flynn interviews with the SCO
11/19/2017    General Flynn interviews with the SCO
11/20/2017    General Flynn interviews with the SCO
11/21/2017    General Flynn interviews with the SCO
11/22/2017    Prosecution produces Flynn 302 (final one) to Covington
              Extensive meeting with SCO; late in day Flynn agrees to plead to one
11/29/2017    count and continue cooperating with US


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              Late afternoon, prosecutors make last minute telephonic disclosure of
              electronic communications showing a preference for one candidate

              General Flynn signs plea agreement to one 1001 count for making false
11/30/2017    statements to the FBI on 01/24/2017 and signs cooperation agreement
12/01/2017    Judge Contreras takes Flynn guilty plea at 10:30 a.m.
              Press breaks news of Strzok Page texts, affair, and anti-Trump malice;
12/02/2017    OIG issues rare statement re investigation
              CNN reveals that Strzok changed wording of Comey’s Clinton speech
12/04/2017    to avoid statutory language of gross negligence
12/06/2017    Bruce Ohr demoted at DOJ
              News breaks that Bruce Ohr was in contact with Fusion GPS while
              FISA application was submitted and granted;
12/07/2017    Judge Contreras recused
12/07/2017    Judge Sullivan assigned case
02/12/2017    First Brady order entered (Dkt. 10)
12/20/2017    James Baker - FBI General Counsel - demoted and reassigned
              Andrew McCabe - Deputy FBI Director - announced retirement effective
12/23/2017    March 17, 2018
01/08/2018    Bruce Ohr - demoted a second time.
01/23/2018    James Rybicki - Chief of Staff to FBI Director James Comey resigns
01/29/2018    Andrew McCabe forced to Resign Acting Director Position
              Josh Campbell - Special Assistant to James Comey – Announced his
02/02/2018    resignation
              Michael Kortan FBI Asst. Director Public Affairs - Resigned - Effective
02/08/2018    02/15/2018
              David Laufman - DOJ National Security Division, Deputy Asst. –
02/07/2018    announces resignation
02/09/2018    Rachel Brand - Associate Attorney General - Resigned
02/16/2018    Judge Sullivan enters Second Brady order (see Dkt. 20)
              Prosecution’s first Brady production includes first actual Strzok-Page
03/13/2018    texts by link to publicly available information
03/16/2018    Andrew McCabe - Deputy FBI Director - Fired
              Greg Bower - FBI Assistant Director for the Office of Congressional
3/30/2018     Affairs - Resigned
05/04/2018    James Baker - Senior-Most Legal Counsel at FBI- Resigned
8/10/2018     Peter Strzok Fired
              Bill Priestap - Assistant Director - Head of FBI Counterintelligence –
12/05/2018    announced retirement




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